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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GREGORY HANNAH-JONES,      :
                           :
        Plaintiff,         :
                           :
v.                         :                 CIVIL ACTION FILE NO.:
                           :                 1:24-CV-2736-LMM-JCF
AMAZON.COM SERVICES, INC., :
                           :
        Defendants.        :

                FINAL REPORT AND RECOMMENDATION

      Plaintiff filed this action alleging that the defendant terminated his

employment in violation of Title VII of the Civil Rights Act of 1964, as amended,

42 U.S.C. ' 2000e, et seq. (Doc. 1). To date, Plaintiff have not served Defendant

with the summons and complaint.

      FED.R.CIV.P. 4(m) provides:

      If a defendant is not served within 90 days after the complaint is
      filed, the court—on motion or on its own after notice to the plaintiff—
      must dismiss the action without prejudice against that defendant or
      order that service be made within a specified time. But if the plaintiff
      shows good cause for the failure, the court must extend the time for
      service for an appropriate period.

Because more than 90 days had elapsed since Plaintiff filed his Complaint, the

Court entered an Order on September 20, 2024 directing Plaintiff to either submit

documentation that service was waived or timely effectuated or to show cause,

within 14 days from the date of entry of the Order, why the complaint should not
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be dismissed pursuant to Rule 4(m). (Doc. 4). Plaintiff has failed to comply with

the Court’s Order in its entirety.

        Accordingly, it is RECOMMENDED that Plaintiff’s complaint be

DISMISSED, without prejudice, for their failure to serve Defendant within 90

days of filing their complaint pursuant to FED.R.CIV.P. 4(m) and pursuant to LR

41.3A(2), NDGa. for their failure to comply with an Order of the Court. The Clerk

is DIRECTED to terminate the referral of this action to the undersigned.

        IT IS REPORTED AND RECOMMENDED this 7th day of October,

2024.

                                     /s/ J. Clay Fuller
                                     J. CLAY FULLER
                                     UNITED STATES MAGISTRATE JUDGE
